                                                                                                              JA
    Case: 1:20-cr-00495 Document #: 1 Filed: 08/13/20 Page 1 of 1 PageID #:1
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                                                                                            AUG   13 2020ra
                                                                                  THOMAS G BRUTON
                           UNITED STATES DISTRICT COURT                     CTERK U.S. DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 UNITED STATES OF AMERICA                 )

       v.
                                          )
                                          )
                                          )
                                                NO
                                                     aACR
                                                Violation: 26 U.S.C.            S   7206(1)
                                                                                                  495
 TERRANCE P. LINK                         )
                                                            TIDGITOUI
                                                      MAGTSTHATE JUDGT C0tE
      rhe uNITED srArES ATToRNEY charges:

      On or about October 15, 2017, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                 TERRANCE P. LINK,

defendant herein, willfully made and subscribed, and caused                   to be made           and

subscribed,    a United States Individual Income Tax Return (Form                            1040 with

schedules and attachments) for the calendar year 2016, which return was verified by

written declaration that it was made under penalties of perjury and was filed with

the Internal Revenue Service, which return he did not believe to be true and correct

as to every material matter, in that said return reported on Line 22 that the total

income was $264,450, when defendant knew that the total income substantially

exceeded    that amount;

      In violation of Tit1e 26, United States Code, Section 7206(l).

                                                          Digitally signed by AMARJEET
                                        AMARJEET BHACHU   sHaCHu
                                                          Date: 2020.08.1 2 I 7: l8:28 -05'00'


                                       Signed by Amarjeet S. Bhachu
                                       on behalf of the
                                       UNITED STATES ATTORNEY
